                                  Case 2:24-cv-01386 Document 1 Filed 02/20/24 Page 1 of 5 Page ID #:1




                              1 Douglas E. Dexter (State Bar No. 115868)
                                ddexter@fbm.com
                              2 Jamie E.S. Talt (State Bar No. 312853)
                                jtalt@fbm.com
                              3 Daniel Contreras (State Bar No. 329632)
                                dcontreras@fbm.com
                              4 Farella Braun + Martel LLP
                                One Bush Street, Suite 900
                              5 San Francisco, California 94104
                                Telephone: (415) 954-4400
                              6 Facsimile: (415) 954-4480

                              7 Attorneys for Defendants AMAZON.COM
                                SERVICES, INC. and AMAZON.COM
                              8 SERVICES LLC

                              9
                                                            UNITED STATES DISTRICT COURT
                           10
                                               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                           11

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                                  MATTHEW ARMENTA,                            Case No.
                           13
                                              Plaintiff,                      DEFENDANTS AMAZON.COM
                           14                                                 SERVICES LLC AND AMAZON.COM
                                        vs.                                   SERVICES, INC.’S NOTICE OF
                           15                                                 REMOVAL OF CIVIL ACTION UNDER
                              AMAZON.COM SERVICES, INC., a                    28 U.S.C. §§ 1332 & 1441(b)
                           16 Delaware Corporation; AMAZON.COM
                              SERVICES, LLC, a Delaware Corporation,          [COUNTY OF LOS ANGELES SUPERIOR
                           17 and DOES 1-100, inclusive,                      COURT; CASE NO. 23STCV26978]

                           18                 Defendants.
                                                                              Action Filed:       November 2, 2023
                           19                                                 Trial Date:         Not Set

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  Farella Braun + Martel LLP
  One Bush Street, Suite 900
San Francisco, California 94104
                                                                                                              44768\16668880.2
        (415) 954-4400
                                          DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION UNDER 28 U.S.C. §1441(b)
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                              2         TO THE CLERK OF THE ABOVE-ENTITLED COURT AND PLAINTIFF MATTHEW

                              3 ARMENTA:

                              4         PLEASE TAKE NOTICE that Defendants AMAZON.COM SERVICES LLC and

                              5 AMAZON.COM SERVICES, INC. (Collectively, “Amazon” or “Defendants”), pursuant to 28

                              6 U.S.C. §§ 1332 & 1441(b), hereby remove the above-entitled action to this Court from the

                              7 Superior Court of the State of California in and for the County of Los Angeles, Case No.

                              8 23STCV26978.

                              9 I.      FACTUAL AND PROCEDURAL BACKGROUND

                           10           On November 2, 2023, Plaintiff MATTHEW ARMENTA (“Plaintiff”) filed a civil

                           11 complaint in the Superior Court of the State of California, County of Los Angeles, entitled

                           12 Matthew Armenta v. Amazon.com Services, Inc., et al., Case No. 23STCV26987. A true and

                           13 correct copy of the Complaint, together with its Civil Case Cover Sheet, is attached as Exhibit A

                           14 (hereinafter the “Complaint.”).

                           15           On January 18, 2024, Amazon was served with the Complaint.

                           16           In his Complaint, Plaintiff alleges four causes of action against Defendants: (1)

                           17 Discrimination on the Basis of Disability in Violation of FEHA; (2) Failure to Provide Reasonable

                           18 Accommodation in Violation of FEHA; (3) Failure To Engage in the Interactive Process; and (4)

                           19 Discrimination Based on Perceived Disability in Violation of FEHA See Exhibit A at p. 1.

                           20 Plaintiff seeks general damages, special damages, punitive damages, pre-judgment and post-

                           21 judgment interest, attorneys’ fees, costs of suit, statutory and civil penalties, and reinstatement to

                           22 his position with Amazon. See Exhibit A at p. 10.

                           23           On February 20, 2024, Defendants filed their Answer in California Superior Court. See

                           24 Exhibit D.

                           25 II.       THE NOTICE OF REMOVAL IS TIMELY

                           26           This Notice of Removal has been timely filed within thirty (30) days after “service on that

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  Farella Braun + Martel LLP
  One Bush Street, Suite 900
San Francisco, California 94104                                                   2                                         44768\16668880.2
        (415) 954-4400
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                                  Case 2:24-cv-01386 Document 1 Filed 02/20/24 Page 3 of 5 Page ID #:3




                              1 defendant of the initial pleading.” See 28 U.S. §1446(b)(2)(B).1

                              2 III.     THIS COURT HAS DIVERSITY JURISDICTION

                              3          This case is removable because this Court has original jurisdiction based on the parties’

                              4 diversity of citizenship. See 28 U.S.C. § 1332(a) (“The district courts shall have original

                              5 jurisdiction of all civil actions where the matter in controversy exceeds the sum or value of

                              6 $75,000 . . . and is between . . . citizens of different States[.]”). First, Plaintiff and Amazon are

                              7 citizens of different states. Plaintiff was formerly employed by Amazon in California. See

                              8 Exhibit A. Plaintiff’s last known address while employed by Amazon was in California. See

                              9 Declaration of Jamie E.S. Talt ¶ 2, Ex. 1. Upon information and belief, Plaintiff continues to

                           10 reside in California.

                           11            Amazon.com Services LLC is not a citizen of California. For purposes of diversity

                           12 jurisdiction, “a limited liability corporation is a citizen of all of the states of which its

                           13 owners/members are citizens.” Lindley Contours LLC v. AABB Fitness Holdings, Inc., 414 F.

                           14 App’x 62, 64 (9th Cir. 2011) (citation omitted). At all times relevant to this action, Amazon.com

                           15 Services LLC’s corporate headquarters and principal place of business has been in Seattle,

                           16 Washington, and Amazon.com Services LLC is now and has been organized under the laws of the

                           17 State of Delaware. See Exhibit B (California Secretary of State Statement of Information for

                           18 Amazon.com Services LLC listing principal office in Seattle, Washington and organized under

                           19 Delaware law). Amazon.com Services LLC’s only member is Amazon.com Sales, Inc., which is a

                           20 Delaware corporation with its corporate headquarters and principal place of business in

                           21 Washington. See Exhibit C (Washington Secretary of State Annual Report for Amazon.com

                           22 Sales, Inc. listing principal office in Seattle, Washington and incorporation in Delaware).

                           23 Amazon.com Sales, Inc. is a wholly owned subsidiary of parent company Amazon.com Inc.

                           24            Amazon.com Services LLC is the successor in interest to Amazon.com Services, Inc.

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                                The date 30 days after January 18, 2024 is Saturday, February 17, 2024. Pursuant to the Federal
                              Rules of Civil Procedure, the time period to file this Notice of Removal is therefore extended to
                           27
                              the next day that is not a Saturday, Sunday, or legal holiday—i.e., February 20, 2024. See Fed. R.
                           28 Civ. P. 6(a)(1)(C).
  Farella Braun + Martel LLP
  One Bush Street, Suite 900
San Francisco, California 94104                                                     3                                         44768\16668880.2
        (415) 954-4400
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                              1 Defendant Amazon.com Services, Inc. was a Delaware corporation with its corporate headquarters

                              2 and principal place of business in Washington. See Exhibit E (Washington Secretary of State

                              3 Annual Report for Amazon.com Services, Inc. listing principal office in Seattle, Washington and

                              4 incorporation in Delaware). Thus, diversity of citizenship exists.

                              5          In addition, the amount in controversy exceeds $75,000. Though Amazon denies that

                              6 Plaintiff is entitled to any damages, Plaintiff seeks general damages, special damages, punitive

                              7 damages, attorneys’ fees, and more. See Exhibit A at p. 10. California federal courts have

                              8 routinely found that the amount-in-controversy requirement is satisfied in cases with similar

                              9 claims. See, e.g., Rodriguez v. Home Depot, U.S.A., Inc., No. 16-CV-01945-JCS, 2016 WL

                           10 3902838, at *1 (N.D. Cal. July 19, 2016) (amount-in-controversy requirement satisfied in

                           11 wrongful termination case seeking lost wages, equitable relief, restitution, emotional distress

                           12 damages, punitive damages, and attorneys’ fees and costs); Castanon v. Int’l Paper Co., No. 2:15-

                           13 CV-08362-ODW (JC), 2016 WL 589853, at *1–2 (C.D. Cal. Feb. 11, 2016) (amount-in-

                           14 controversy requirement satisfied in disability discrimination case seeking lost earnings, emotional

                           15 distress and punitive damages, and attorneys’ fees); Simmons v. PCR Tech., 209 F. Supp. 2d 1029,

                           16 1032, 1035 (N.D. Cal. 2002) (amount-in-controversy requirement satisfied in employment

                           17 discrimination case seeking compensatory damages, punitive damages, emotional distress

                           18 damages, injunctive relief, and attorneys’ fees). Thus, removal is proper based on this Court’s

                           19 diversity jurisdiction.

                           20 IV.        VENUE IS PROPER IN THIS COURT

                           21            Pursuant to 28 U.S.C. § 1441(a), “any civil action brought in a State court of which the

                           22 district courts of the United States have original jurisdiction, may be removed by the defendant or

                           23 the defendants, to the district court of the United States for the district and division embracing the

                           24 place where such action is pending.” This Court embraces the Superior Court of the State of

                           25 California for the County of Los Angeles, which is where Plaintiff’s Complaint was originally

                           26 filed. Accordingly, this Court is the appropriate court to which to remove this action.

                           27 V.         NOTICE OF REMOVAL

                           28            Amazon will promptly serve this Notice of Removal upon Plaintiff, and will also file a
  Farella Braun + Martel LLP
  One Bush Street, Suite 900
San Francisco, California 94104                                                   4                                      44768\16668880.2
        (415) 954-4400
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                                  Case 2:24-cv-01386 Document 1 Filed 02/20/24 Page 5 of 5 Page ID #:5




                              1 copy of this Notice of Removal with the Clerk of the Superior Court of the State of California,

                              2 County of Los Angeles.

                              3

                              4 Dated: February 20, 2024                   FARELLA BRAUN + MARTEL LLP

                              5
                                                                           By:
                              6
                                                                                 Jamie E.S. Talt
                              7
                                                                           Attorneys for Defendants AMAZON.COM SERVICES,
                              8                                            INC. and AMAZON.COM SERVICES LLC
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  One Bush Street, Suite 900
San Francisco, California 94104                                                  5                                     44768\16668880.2
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